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Attorneys for Fay Servicing, LLC as servicer for U.S. Bank
Trust National Association, not in its individual capacity,
but solely as Trustee of LSF9 Master Participation Trust
P: (212) 471-5100
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
-------------------------------------------------------------------X
                                                                   :
                                                                   : CASE NO.: 23-11823-CMG
   IN RE:                                                          :
                                                                   : CHAPTER: 13
   James F. Paguiligan                                             :
                                                                   : HON. JUDGE.:
   Debtor                                                          : Christine M. Gravelle
                                                                   :
                                                                   : HEARING DATE: November 1, 2023
                                                                   : at 9:00 am
-------------------------------------------------------------------X
   OBJECTION TO DEBTOR’S MOTION TO REINSTATE THE AUTOMATIC STAY


        PLEASE TAKE NOTICE that Fay Servicing, LLC as servicer for U.S. Bank Trust
National Association, not in its individual capacity, but solely as Trustee of LSF9 Master
Participation Trust (hereinafter “Secured Creditor”), the holder of a mortgage on real property of
the Debtor, located at 230 Lakewood Ave., Bayville, NJ 07821, by and through its undersigned
attorneys, hereby objects to the Debtor’s Motion to Reinstate the Stay on the following grounds:
    1. The Debtor filed a Chapter 13 Bankruptcy Petition on March 6, 2023.
    2. On July 3, 2023, a Motion for Relief from the Automatic Stay and Co-Debtor Stay was
filed by Secured Creditor.
    3. On August 2, 2023, an Order Vacating Automatic Stay and Co-Debtor Stay was entered
by the Court.
    4. The Debtor now seeks the entry of an order reinstating the Automatic Stay as to Secured
Creditor.
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   5. Debtor’s Motion relies on the proposition that the Debtor has since become current with
all post-petition obligations to Secured Creditor
   6. Upon review of internal records, Debtor’s account is due for the post-petition payments
for the months of September 1, 2023, through and including October 1, 2023, in the amount of
$2,429.05. The total post-petition arrears are $4,858.10 through October 6, 2023.
   7. Secured Creditor objects to the reinstatement of the automatic stay unless and until the
Debtor has fully brought the account current on all post-petition obligations through the date of
any entered Order.
   WHEREFORE, Secured Creditor respectfully requests that the Debtor’s Motion be denied
for the reasons outlined above and for all other and further relief as is just and proper.


Dated: 10/20/2023
       Garden City, NY                         By: /s/ Charles G. Wohlrab
                                               Charles Wohlrab, Esq.
                                               FRIEDMAN VARTOLO LLP
                                               Attorneys for Fay Servicing, LLC as servicer for
                                               U.S. Bank Trust National Association, not in its
                                               individual capacity, but solely as Trustee of LSF9
                                               Master Participation Trust
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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)

     Charles Wohlrab, Esq.
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     Garden City, New York 11530
     P: (212) 471-5100
     Fay Servicing, LLC as servicer for U.S. Bank         Case No.:             23-11823-CMG
                                                                             ____________________
     Trust National Association, not in its individual
     capacity, but solely as Trustee of LSF9 Master       Chapter:                    13
                                                                             ____________________
     Participation Trust

     In Re:                                               Adv. No.:          ____________________
     James F. Paguiligan                                  Hearing Date:      ____________________

                                                          Hon. Judge:         Christine M. Gravelle
                                                                             ____________________




                                     CERTIFICATION OF SERVICE

1. I, ____________________________
       Luke M. Wollweber           :

           ☐ represent ______________________________ in the this matter.

           ☐ am the secretary/paralegal for ___________________________,
                                             Charles Wohlrab, Esq        who represents
           ______________________________
           Fay Servicing, LLC             in the this matter.

           ☐ am the ______________________ in the this case and am representing myself.



2.         On _____________________________
                     October 20, 2023      , I sent a copy of the following pleadings and/or documents
           to the parties listed in the chart below.
              Objection to Debtor's Motion to Reinstate Automatic Stay



3.         I certify under penalty of perjury that the above documents were sent using the mode of service
           indicated.

Date:      _______________________
           10/20/2023                                    /s/ Luke M. Wollweber
                                                         __________________________________
                                                         Signature
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 Name and Address of Party Served       Relationship of               Mode of Service
                                       Party to the Case
 James F. Paguiligan                                       ☐ Hand-delivered
 230 Lakewood Ave.
                                     Debtor(s)             ☐ Regular mail
 Bayville, NJ 08721
 OCEAN-NJ                                                  ☐ Certified mail/RR
                                                           ☐ E-mail
                                                           ☐ Notice of Electronic Filing (NEF)
                                                           ☐ Other _____________________
                                                             (as authorized by the court *)

David A. Semanchik                                         ☐ Hand-delivered
David A. Semanchik
248R Washington St.                  Debtor(s) Attorney    ☐ Regular mail
Toms River, NJ 08753                                       ☐ Certified mail/RR
                                                           ☐ E-mail
                                                           ☐ Notice of Electronic Filing (NEF)
                                                           ☐ Other _____________________
                                                             (as authorized by the court *)

Albert Russo                                               ☐ Hand-delivered
Standing Chapter 13 Trustee
CN 4853                              Trustee               ☐ Regular mail
Trenton, NJ 08650-4853                                     ☐ Certified mail/RR
                                                           ☐ E-mail
                                                           ☐ Notice of Electronic Filing (NEF)
                                                           ☐ Other _____________________
                                                             (as authorized by the court *)

U.S. Trustee                                               ☐ Hand-delivered
US Dept of Justice
Office of the US Trustee             U.S. Trustee          ☐ Regular mail
One Newark Center Ste 2100                                 ☐ Certified mail/RR
Newark, NJ 07102
                                                           ☐ E-mail
                                                           ☐ Notice of Electronic Filing (NEF)
                                                           ☐ Other _____________________
                                                             (as authorized by the court *)



                                            2
